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                                                                      July 29, 2024



       Via Electronic Filing
       The Honorable John Milton Younge
       15613 U.S. Courthouse
       Courtroom 15-B
       601 Market Street
       Philadelphia, PA 19106

                      Re:        American Environmental Enterprises, Inc. v. Manfred Sternberg,
                                 Esquire, et al.
                                 U.S.D.C. Eastern District No.: 2-22-cv-00688-JMY

     Dear Judge Younge:

              We represent the so-called “Sternberg Defendants” in these proceedings. Your Honor will
     recall that no other defendant is currently represented by counsel. We write with an eye toward the
     case management deadlines articulated in the March 20, 2024 Amended Scheduling Order (ECF
     154), and in particular expert submissions.

            Our understanding is that subparagraph 1(b) of the Order requires plaintiff, and any other
     party asserting an affirmative claim, to produce affirmative expert reports by Friday, August 2,
     2024. Per the order, any defendant producing a rebuttal submission must do so by Friday, August
     16.

             In our practice and experience, it has always been the plaintiff to first provide expert
     submissions, and then the defendant is permitted to respond accordingly. We understand that a
     similar approach would apply here, but wanted to confirm Your Honor’s preference, especially
     with the first deadline set for this Friday.

                                                                      Respectfully submitted,

                                                                      GOLDBERG SEGALLA

                                                                      /s/ Joseph Ross
                                                                      Joseph Ross




     cc:        All counsel of record via ECF; All unrepresented parties via email

                                 Please send mail to our scanning center at: PO Box 360, Buffalo NY 14201


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